        Case 17-10979-GLT                               Doc            Filed 12/22/22 Entered 12/22/22 14:04:38                                                       Desc Main
 Fill in this information to identify the case:                        Document      Page 1 of 3
 Debtor 1              Norman E. Vollentine
                       __________________________________________________________________


 Debtor 2              Stephanie   A. Vollentine
                       ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Western District     of __________
                                                          of Pennsylvania
                                                     District

 Case number            17-10979
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   KeyBank N.A. S/B/M First Niagara Bank
 Name of creditor: _______________________________________                                                                                    13
                                                                                                                 Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                                          Date of payment change:
 identify the debtor’s account:                                         0 ____
                                                                       ____ 0 ____
                                                                               2 ____
                                                                                   0                             Must be at least 21 days after date                     01/15/2023
                                                                                                                                                                         _____________
                                                                                                                 of this notice


                                                                                                                 New total payment:                                              575.03
                                                                                                                                                                         $ ____________
                                                                                                                 Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                                                 New escrow payment:                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:                   _______________%                                 New interest rate:                    _______________%

                   Current principal and interest payment: $ _______________                                 New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
                                      Per contract terms, days in monthly billing cycle varies month-to-month; principal balance, interest and fees change based upon debit/credit transactions
                   Reason for change: ___________________________________________________________________________________

                                                       585.43
                   Current mortgage payment: $ _______________                                                                               575.03
                                                                                                             New mortgage payment: $ _______________


Official Form 410S1                                                          Notice of Mortgage Payment Change                                                                            page 1
          Case 17-10979-GLT                          Doc          Filed 12/22/22 Entered 12/22/22 14:04:38                            Desc Main
                                                                  Document      Page 2 of 3

Debtor 1          Norman E. Vollentine
                 _______________________________________________________                       Case number             17-10979
                                                                                                              (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 _____________________________________________________________
   /s/Reilly Fiske
     Signature
                                                                                               Date    12/22/2022
                                                                                                       ___________________




 Print:             Reilly Fiske
                    _________________________________________________________                  Title   Bankruptcy   Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            KeyBank N.A.
                    _________________________________________________________



 Address            4910 Tiedeman Road
                    _________________________________________________________
                    Number                 Street

                    Brooklyn                         OH      44144
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      866-325-9723
                    ________________________                                                            bk_specialists@keybank.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                              page 2
Case 17-10979-GLT           Doc      Filed 12/22/22 Entered 12/22/22 14:04:38                Desc Main
                                     Document      Page 3 of 3


UNITED STATES BANKRUPTCY COURT
DISTRICT OF WESTERN PENNSYLVANIA

 In Re: Norman E. Vollentine,                         Case No. 17-10979
        Stephanie A. Vollentine,
                                                      Chapter 13
         Debtors



                                    CERTIFICATE OF SERVICE

         I hereby certify that on 12/22/2022, I electronically filed a Notice of Mortgage Payment Change
with the Clerk of the Bankruptcy Court using the CM/ECF system which sent electronic notification of
such filing to the following:

Debtors’ Attorney:
Jeffrey G. Herman
Email: JeffreyHerman@Live.com

Trustee:
 Ronda J. Winnecour
 Suite 3250, USX Tower
 600 Grant Street
 Pittsburgh, PA 15219



       And, I hereby certify that I have mailed via the United States Postal Service the Notice of
Mortgage Payment Change to the following non CM/ECF participants:


Debtors:
Norman E. Vollentine
Stephanie A. Vollentine
3272 Dublin Rd
Waterford, PA 16441


                                                       /s/Reilly Fiske
                                                       Bankruptcy Specialist
                                                       KeyBank N.A.
